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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re:                                           Chapter 11

TINTRI, INC.,                                    Case No. 18-11625(KJC)

                       Debtor.

TINTRI, INC.,

                       Plaintiff,

vs.                                              Adversary No. 18-50830(KJC)

NUVIAS GROUP,

                       Defendant.


                   STIPULATION EXTENDING RESPONSE DEADLINE

         Plaintiff Tintri, Inc. and Defendant Nuvias Group, by and through their undersigned

counsel, hereby stipulate pursuant to Del. Bankr. L.R. 7012-2 that the deadline for the Defendant

to plead or move in response to the Plaintiff’s Complaint for Breach of Written Contract and

Turnover is extended to October 25, 2018.

Dated: October 17, 2018                            Dated: October 17, 2018

PACHULSKI STANG ZIEHL & JONES LLP                  DRINKER BIDDLE & REATH LLP

/s/ Colin R. Robinson                              /s/ Patrick A. Jackson
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